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AO 248 (Rev. 08/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)



                                       UNITED STATES DISTRICT COURT
                                   FOR THE__________ DISTRICT OF __________
                                                                 NEVADA

          UNITED STATES OF AMERICA
                                                                          Case No. ____________________
                                                                                   2:17-cr-00256

                                                                          ORDER ON MOTION FOR
          v.                                                              SENTENCE REDUCTION UNDER
                                                                          18 U.S.C. § 3582(c)(1)(A)
         PEDRO RIVERA
                                                                          (COMPASSIONATE RELEASE)


                 Upon motion of ☐ the defendant ☐ the Director of the Bureau of Prisons for a reduction

         in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

         provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

         Commission,

         IT IS ORDERED that the motion is:

         ☐ GRANTED

                 ☐ The defendant’s previously imposed sentence of imprisonment of ________________

         is reduced to ____________________________. If this sentence is less than the amount of time

         the defendant already served, the sentence is reduced to a time served; or

                 ☐ Time served.

                 If the defendant’s sentence is reduced to time served:

                          ☐        This order is stayed for up to fourteen days, for the verification of the

                                   defendant’s residence and/or establishment of a release plan, to make

                                   appropriate travel arrangements, and to ensure the defendant’s safe

                                   release. The defendant shall be released as soon as a residence is verified,

                                   a release plan is established, appropriate travel arrangements are made,
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               and it is safe for the defendant to travel. There shall be no delay in

               ensuring travel arrangements are made. If more than fourteen days are

               needed to make appropriate travel arrangements and ensure the

               defendant’s safe release, the parties shall immediately notify the court and

               show cause why the stay should be extended; or

       ☐       There being a verified residence and an appropriate release plan in place,

               this order is stayed for up to fourteen days to make appropriate travel

               arrangements and to ensure the defendant’s safe release. The defendant

               shall be released as soon as appropriate travel arrangements are made and

               it is safe for the defendant to travel. There shall be no delay in ensuring

               travel arrangements are made. If more than fourteen days are needed to

               make appropriate travel arrangements and ensure the defendant’s safe

               release, then the parties shall immediately notify the court and show cause

               why the stay should be extended.

☐ The defendant must provide the complete address where the defendant will reside

upon release to the probation office in the district where they will be released because it

was not included in the motion for sentence reduction.

☐ Under 18 U.S.C. § 3582(c)(1)(A), the defendant is ordered to serve a “special term” of

☐ probation or ☐ supervised release of ___ months (not to exceed the unserved portion

of the original term of imprisonment).

       ☐ The defendant’s previously imposed conditions of supervised release apply to

       the “special term” of supervision; or




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               ☐ The conditions of the “special term” of supervision are as follows:




       ☐ The defendant’s previously imposed conditions of supervised release are unchanged.

       ☐ The defendant’s previously imposed conditions of supervised release are modified as

       follows:




☐ DEFERRED pending supplemental briefing and/or a hearing. The court DIRECTS the United

States Attorney to file a response on or before _________________, along with all Bureau of

Prisons records (medical, institutional, administrative) relevant to this motion.

☐ DENIED after complete review of the motion on the merits.

       ☐ FACTORS CONSIDERED (Optional)
This is Rivera’s second motion for compassionate release under the First
Step Act and it is not materially different from his first such motion which
was denied by this court on September 10, 2020. (ECF No. 86).



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☐ DENIED WITHOUT PREJUDICE because the defendant has not exhausted all administrative

remedies as required in 18 U.S.C. § 3582(c)(1)(A), nor have 30 days lapsed since receipt of the

defendant’s request by the warden of the defendant’s facility.

IT IS SO ORDERED.

Dated:

October 21, 2020
                                                    UNITED STATES DISTRICT JUDGE




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